                                                                                         FILED
                                                                                     November 2, 2022

                             UNITED STATES DISTRICT COURT
                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                  WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                                By:      MR
                                 SAN ANTONIO DIVISION                                                     Deputy


                                                                  Case No: SA:22-CR-00570-OLG
 UNITED STATES OF AMERICA
         Plaintiff

                 v.
                                                       INDICTMENT
 (1) CHANDLER BRITAIN BRADFORD
 (                                                     COUNT 1: 18 U.S.C. § 371 & 554(a)
 (3) RICARDO RODRIGUEZ-SOTELO                          Conspiracy to Smuggle Goods from the
                                                       United States
         Defendants
                                                       COUNTS 2-3: 18 U.S.C. §§ 554(a) & 2
                                                       Smuggling of Goods from the United States,
                                                       Aiding & Abetting

                                                       COUNT 4: 18 U.S.C. § 922(a)(1)(A)
                                                       Unlicensed Dealing and Manufacturing of
                                                       Firearms

                                                       COUNT 5: 18 U.S.C. § 1956(h)
                                                       Conspiracy to Commit Money Laundering



THE GRAND JURY CHARGES:

                                           COUNT ONE
                                         [18 U.S.C. § 371]

       That from on or about August 12, 2019, the exact date unknown, and continuing up until

the date of this indictment, in the Western and Southern Districts of Texas, and the Republic of

Mexico, Defendants,

                           (1) CHANDLER BRITAIN BRADFORD,
                           (                               ,
                             (3) RICARDO RODRIGUEZ-SOTELO,

knowingly and willfully conspired and agreed together and with others to commit offenses against

the United States, that is, to knowingly receive, conceal, buy, sell, and facilitate the transportation


                                                  1
and sale of any merchandise, article, and object, to wit, components and parts for AR-15 rifles,

knowing them to be intended for exportation contrary to any law or regulation of the United States,

to wit, Title 15, Code of Federal Regulations, Sections 774 and 736.2(b)(1), in violation of Title

18, United States Code, Section 554(a).

                                    MANNER AND MEANS

       The conspiracy was carried out through the following manner and means, among others:

       1.      From on or about August 12, 2019, the exact date being unknown, CHANDLER

BRITAIN BRADFORD (1) of New Braunfels, Texas, would receive orders for firearm parts,

including AR-15 components, from                                                      a citizen of

Mexico who resided in the Monterrey, Nuevo Leon, Mexico area.                               would

typically place these orders by text message to BRADFORD.

       2.      BRADFORD would purchase the requested firearm components online from

manufacturers in the United States, and have the components shipped to him at addresses in New

Braunfels, Texas. After receiving the components, BRADFORD would assemble

               orders, as instructed by                      .

       3.      BRADFORD would deliver the firearm parts for                             by at least

two different means. On some occasions, BRADFORD would ship the firearm parts intended for

                       to a mail center in Laredo, Texas, addressed to a third party. On other

occasions, BRADFORD would package the firearm parts in boxes and transport them to storage

units near the Mexican border, including in Laredo, Texas, and Pharr, Texas.

       4.      RICARDO RODRIGUEZ-SOTELO (3), a truck driver, would access the storage

units in Laredo, Texas, unpack the boxes, and repackage them so they could be smuggled to

Monterrey, Nuevo Leon, Mexico, by truck.



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and began unpacking, then re-packing the gun parts so they could be smuggled into Mexico by

members of the conspiracy.

       All in violation of Title 18, United States Code, Sections 371 and 554(a).

                                         COUNT TWO
                                     [18 U.S.C. §§ 554(a), 2]

       On or about September 26, 2022, in the Western and Southern Districts of Texas, and the

Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                          (                            ,

aided and abetted by each other, and others, did attempt to fraudulently and knowingly export and

send from the United States any merchandise, article, or object contrary to any law or regulation

of the United States, to wit, approximately 100 completed AR-15 upper receivers with 7’5” barrels,

and did receive, conceal, buy, sell, or in any manner facilitate the transportation, concealment, or

sale of such merchandise, article, or object, prior to exportation, knowing the same to be intended

for exportation contrary to any law or regulation of the United States, in that Defendants knew

they did not have a license or written authorization for such export, contrary to Title 15, Code of

Federal Regulations, Sections 774 and 736.2(b)(1), and all in violation of Title 18, United States

Code, Sections 554(a) and 2.

                                        COUNT THREE
                                     [18 U.S.C. §§ 554(a), 2]

       On or about October 4, 2022, in the Western and Southern Districts of Texas, and the

Republic of Mexico, Defendants,

                           (1) CHANDLER BRITAIN BRADFORD,

                           (3) RICARDO RODRIGUEZ-SOTELO,

aided and abetted by each other, and others, did attempt to fraudulently and knowingly export or


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send from the United States any merchandise, article, or object contrary to any law or regulation

of the United States, to wit, approximately 80 completed AR-15 upper receivers with 7’5’’ barrels

and approximately 100 high-capacity 5.56 magazines, and did receive, conceal, buy, sell, or in any

manner facilitate the transportation, concealment, or sale of such merchandise, article, or object,

prior to exportation, knowing the same to be intended for exportation contrary to any law or

regulation of the United States, in that Defendants knew they did not have a license or written

authorization for such export, contrary to Title 15, Code of Federal Regulations, Sections 774 and

736.2(b)(1), and all in violation of Title 18, United States Code, Sections 554(a) and 2.

                                        COUNT FOUR
                                   [18 U.S.C. §§ 922(a)(1)(A)]

       From on or about April 25, 2020, to on or about October 4, 2022, in the Western District

of Texas, Defendant,

                           (1) CHANDLER BRITAIN BRADFORD,

not being a licensed dealer of firearms within the meaning of Chapter 44, Title 18, United States

Code, did willfully engage in the business of manufacturing and dealing in firearms, in violation

of Title 18, United States Code, Section 922(a)(1)(A).

                                         COUNT FIVE
                                      [18 U.S.C. § 1956(h)]

       That from on or about August 12, 2019, and continuing until on or about October 4, 2022,

in the Western and Southern Districts of Texas, and the Republic of Mexico, Defendants,

                          (1) CHANDLER BRITAIN BRADFORD,
                          (                            ,

did knowingly combine, conspire, and agree with each other and others, known and unknown to

the Grand Jury, to commit offenses against the United States in violation of Title 18, United States

Code, Section 1956, to wit: to transport, transmit and transfer and attempt to transport, transmit


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and transfer a monetary instrument and funds to a place in the United States from and through a

place outside the United States with the intent to promote the carrying on of a specified unlawful

activity, that is, Smuggling of Goods from the United States, in violation of Title 18, United States

Code, Section 554(a), in violation of Title 18, United States Code, Section 1956(a)(2)(A), and all

in violation of Title 18, United States Code, Section 1956(h).



    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                                 I.

 Smuggling Goods and Conspiracy to Obtain Firearms Violations and Forfeiture Statutes
   [Title 18 U.S.C. §§ 371 and 554, subject to forfeiture pursuant to Title 18 U.S.C. §
     981(a)(1)(C), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the foregoing criminal violations set forth above, the United States of

America gives notice to the Defendants CHANDLER BRITAIN BRADFORD,

                        , and RICARDO RODRIGUEZ-SOTELO, of its intent to seek the

forfeiture of any properties identified upon conviction pursuant to Title 18 U.S.C. § 981(a)(1)(C),

(through Title 18 U.SC. § 1956(c)(7)), made applicable to criminal forfeiture by Title 28 U.S.C. §

2461, which states:

       Title 18 U.S.C. § 981. Civil forfeiture
               (a) (1) The following property is subject to forfeiture to the United States:
                   (C) Any property, real or personal, which constitutes or is derived from
                   proceeds traceable to . . . any offense constituting “unspecified unlawful
                   activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to
                   commit such offense.

The offense of smuggling goods from the United States as alleged in Count Two is an offense

constituting “specified unlawful activity” as defined in Title 18 U.S.C. § 1956(c)(7).

                                                 II.

                          Firearms Violation and Forfeiture Statutes


                                                 6
[Title 18 U.S.C. § 922(a)(1)(A), subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
            as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461]

       As a result of the criminal violation set forth above, the United States of America gives

notice to Defendant CHANDLER BRITAIN BRADFORD, of its intent to seek the forfeiture of

any properties identified upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C.

§ 924(d)(1), as made applicable to criminal forfeiture by Title 28 U.S.C. § 2461, which states:

       Title 18 U.S.C. § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
       subsection . . . (a)(6) . . . (g) . . . of section 922 . . . shall be subject to seizure and
       forfeiture . . . under the provisions of this chapter. . .

                                             III.
                    Money Laundering Violations and Forfeiture Statutes
       [Title 18 U.S.C. §§ 1956(h) and 1956(a)(2)(A); subject to forfeiture pursuant to
                                 Title 18 U.S.C. § 982(a)(1)]

       As a result of the foregoing criminal violations set forth above, the United States of

America gives notice to Defendants of its intent to seek the forfeiture of the below described real

and personal properties upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §

982(a)(1), which states:

       Title 18 U.S.C. § 982.

               (a)(1) The court, in imposing sentence on a person convicted of an offense in
               violation of section 1956, 1957, ... of this title, shall order that the person forfeit to
               the United States any property, real or personal, involved in such offense, or any
               property traceable to such property.

This Notice of Demand for Forfeiture includes but is not limited to the following properties:

                                                 III.
                                              Properties

       1. Any and all firearms, ammunition, and/or accessories involved in or used in the
          commission of the criminal offenses;
       2. Any and all property used, or intended to be used, in any manner or part, to commit, or
          to facilitate the commission, and
       3. Any property constituting or derived from, any proceeds the person(s) obtained directly

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            or indirectly, as the result of the commission of the crime.

                                              IV.
                                         Money Judgment

Money Judgment: A sum of money that represent the amount of proceeds obtained, directly or
indirectly, property involved in such offense, or traceable to such property as a result of the
violations set forth in Counts One through Three and Count Five which Defendants CHANDLER
BRITAIN BRADFORD,                                                         , and RICARDO
RODRIGUEZ-SOTELO are individually liable.

                                                V.
                                         Substitute Assets

       If any of the property described above as being subject to forfeiture for the violations set

forth above, as a result of any act or omission of the Defendant:

       a.      cannot be located upon the exercise of due diligence;
       b.      has been transferred or sold to, or deposited with, a third party;
       c.      has been placed beyond the jurisdiction of the court;
       d.      has been substantially diminished in value; or
       e.      has been commingled with other property which cannot be divided without
               difficulty;

it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute assets pursuant to Title 21 U.S.C. 853(p) and Fed. R.

Crim. P. 32.2(e)(1).

                                              A TRUE BILL

                                                                    ________
                                              FOREPERSON OF THE GRAND JURY

       ASHLEY C. HOFF
       UNITED STATES ATTORNEY


BY:    ________________________________
       FOR WILLIAM F. CALVE
       Assistant United States Attorney




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